       Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 1 of 12




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          UNITED STATES DISTRICT COURT
                           DISTRICT OF KANSAS
UNITED STATES OF AMERICA,
             PLAINTIFF,

vs.                                                          19-40044-01-DDC
                                                   CASE NO. ____________

JACOB GRAGG,
                   DEFENDANT.

                                 INDICTMENT

THE GRAND JURY CHARGES:

AT ALL MATERIAL TIMES:

                                  INTRODUCTION

1.    The Gun Control Act of 1968 (“GCA”), and as later amended, included in the

definition of a firearm, “… any weapon…which will or is designed to or may readily

be converted to expel a projectile by the action of an explosive…[and]…the frame or

receiver of any such weapon.”

2.    The National Firearms Act (“NFA”) of 1934, and as later amended, was and is

a comprehensive taxing system that regulates the manufacture, sale, and transfer of

certain covered weapons, including machineguns.

3.    The NFA incorporates into the definition of a “machinegun” the frame or

receiver of any such weapon and any part solely, exclusively, or in conjunction with

other parts, that is designed and intended to convert a weapon into a machinegun.



                                         1
        Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 2 of 12




4.    The term “machinegun” described, among other things, a weapon that fired

repeatedly with a single pull of the trigger, also described as a fully automatic rate of

fire or fully automatic firearm. Conversely, a “semi-automatic” firearm described a

firearm that will fire only one round of ammunition each time the trigger is

depressed.

5.    Pursuant to the NFA, a manufacturer, importer, or dealer of covered weapons,

including machineguns, must obtain designation as a special occupational taxpayer

(“SOT”).   SOT designation allows the person to engage in transfers of weapons

covered by the NFA.

6.    Machineguns covered by the NFA must be registered with the Bureau of

Alcohol, Tobacco, Firearms, and Explosives (“ATF”) in the National Firearms

Registration and Transfer Record.

7.    To transfer possession of a NFA covered weapon for private ownership, the

transfer must, among other things, be conducted by an SOT, be recorded on the

National Firearms Registration and Transfer Record, and a $200 transfer tax

payment must be made to the ATF.

8.    The Firearms Owners’ Protection Act of 1986 (“FOPA”), and as amended,

imposed additional restrictions on the private possession of machineguns. Pursuant

to FOPA, with the exception of a limited category of machineguns lawfully possessed

prior to May 19, 1986, private ownership and possession of machineguns was banned.




                                           2
        Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 3 of 12




                                      GLOCK INC.

9.    Glock Inc., was and is an Austrian based corporation that manufactures arms

and related products for private and professional use. Glock Inc., maintains a U.S.

headquarters in Smyrna, GA that oversees distribution of Glock Inc., products in the

United States

10.   Glock Inc.’s, product line has and does include various semi-automatic pistol

models. Each pistol model has two essential components – the frame and the slide.

The frame is a polymer-composite material that houses, inter alia, the trigger,

magazine, and slide release and allows the operator to grip the pistol. The slide

houses, inter alia, the barrel, recoil spring, and firing pin assembly.   To assess the

firing pin assembly, Glock pistols have a removable slide plate cover located at the

rear of the slide. The slide plate cover is easily removed with limited skill or tools.

                                   “GLOCK SWITCH”

11.   Machineguns and semi-automatic firearms share similarities in construction

and operation. When gunpowder is ignited, it turns into a rapidly expanding gas.

This gas propels the bullet or projectile through the barrel. In machineguns and

semi-automatic firearms, the inertia from the gunpowder changing from a solid to a

gas state and/or redirection of the gas itself through a piston or impingement system

causes the firearm to cycle. A firearm cycles when an expended round is mechanically

ejected from the firearm and a new unfired round is mechanically extracted from the

source of ammunition, such as a magazine, and placed into position to fire again.




                                           3
        Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 4 of 12




12.    Glock pistols available to United States retail consumers were and are

designed to function semi-automatically. That is, the user must depress the trigger

each time the user intends to discharge a round of ammunition and cause the firearm

to cycle.

13.    On January 6, 1998, the United States Patent Office issued Patent Number

5,705,763. The patent was issued for a “Fire Selector System for Selecting Between

Automatic and Semi-Automatic Operation of a Gun,” (hereafter “the patented

device”).    The patented device was and is described as an easily installed device

capable of converting a semi-automatic firearm into an automatic firearm.

14.    The patented device constitutes a machinegun pursuant to the NFA and was

and is compatible with Glock Inc., firearms. Copies of the patented device were and

are colloquially described as “Glock switches.”

15.    The cycle of a Glock 19 pistol is controlled, in part, through the use of a trigger

bar.   The trigger bar is mounted below the firing mechanism.            During normal

operation of a factory produced Glock Model 19, the trigger bar engages the firing

mechanism and prevents forward motion of the firing mechanism following trigger

activation. That is, the trigger bar, along with other internal components, limits the

pistol to fire only one round of ammunition each time the trigger is depressed.

16.    A “Glock switch” is similar in construction to patented invention 5,705,763.

That is, a “Glock switch,” like the patented device, applies longitudinal force on the

trigger bar when activated. Specifically, a “Glock switch” has a metal “leg” that when

activated contacts the trigger bar and urges the trigger bar away from its intended



                                            4
         Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 5 of 12




purpose of contacting the firing mechanism. As such, the trigger bar cannot prevent

forward movement of the firing mechanism following trigger activation. The result

is the “Glock switch” inhibits the function of the trigger bar of the subject weapon,

thus achieving fully automatic operation.

17.   Pursuant to the NFA, a “Glock switch” constitutes a machinegun, as it is “any

part designed solely, exclusively, or in conjunction with other parts, that is designed

and intended to convert a weapon into a machinegun.” As such, “Glock switches”

were subject to the NFA, FOPA, and were required to be registered in the National

Firearms Registration and Transfer Record.

                                     COMPANY-1

18.   Company-1 was a Chinese company based in Shenzhen, Gaundong Province,

China.    Company-1 acquired, and advertised for sale, “Glock switches” through

Website-1.

19.   Website-1 was an English-language website that featured over 150 products,

predominately related to firearms, and available for sale over the internet.

20.   On Website-1’s home screen, Company-1 displayed a prominent advertisement

for a “Glock Auto Switch.” The product was described as a “Glock Pistols Select of

switch Full Auto For All models Glock all Generations” [sic]. Company-1 advertised

the sale of “Glock switches” for $19.00.

21.   Company-1 offered potential customers two color options for the “Glock

switch,” bearing a likeness of the Glock Inc., logo, and with the words “Made in

AUSTRIA” printed on the devices. The product description included, inter alia, that



                                            5
        Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 6 of 12




the device fits “All models Glock all Generations,” was “Easily installed and removed

with no permanent modifications,” and “He is suitable for the world most Glock” [sic].

In addition, directions on “How to install” the item included a link to a YouTube.com

video which depicted how to install the device onto a Glock pistol.

22.   Website-1 provided potential customers with customer reviews and offered

customers the ability to contact Company-1 through email, Facebook, or Skype.

Website-1 further allowed customers to purchase one or more “Glock switches”

through PayPal.

23.   Glock switches purchased from Company-1 through Website-1 were imported

into the United States via China post and the United States Postal Service. To

facilitate importation into the United States, Company-1 used false documentation

and packaging labels to attempt to thwart screening by U.S. authorities.

                                 BINARY EXPLOSIVES

24.   The ATF regulated, inter alia, the sale, storage, manufacturing, possession,

and transportation of explosives.

25.   “Tannerite” was and is the brand name of a binary explosive commonly used

as a shot indicator for personal target practice.

26.   Binary explosives were and are pre-packaged products consisting of two

separate precursor components usually in the form of an oxidizer and a fuel.

27.   The distribution and sale of precursor components, when maintained

separately were not regulated by the ATF.




                                           6
       Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 7 of 12




28.   When binary components are combined, the resulting mixture was and is

considered an explosive material subject to ATF regulation. 27 C.F.R. Part 555.

29.   Persons having a prior conviction for crimes punishable by a term of

imprisonment exceeding one year were prohibited from possessing explosive

materials, including mixed binary explosives.

                                 THE DEFENDANT

30.    Jacob Gragg, the defendant, was a Topeka, Kansas resident.

31.   The defendant utilized services provided by Company-1 through Website-1 to

acquire and possess “Glock switches.”

32.   On or about May 2, 2019, the defendant was found in the possession of seven

(7) “Glock switches” and one-half (0.5) pound of mixed Tannerite, a binary explosive.

33.   At no time did the defendant register himself as the owner of the “Glock

switches” in the National Firearms Registration and Transfer Record.

34.   At no time were the “Glock switches” registered on National Firearms

Registration and Transfer Record.

35.    Pursuant to FOPA, none of the “Glock switches” were lawfully possessed prior

to May 19, 1986, and thus could be lawfully possessed by a private owner.

36.   At no time was the defendant a special occupational taxpayer.




                                         7
          Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 8 of 12




                                       COUNT 1
                      UNLAWFUL POSSESSION OF A MACHINEGUN

37.      Paragraphs 1 through 36 are incorporated by reference as though fully set

forth.

38.      On or about May 2, 2019, in the District of Kansas, the defendant,

                                   JACOB GRAGG,

knowingly and unlawfully possessed one or more machineguns, described as:

         seven (7) modified slide plate covers compatible with Glock
         pistols, bearing the markings “Made in AUSTRIA” and a likeness
         of the Glock Inc., emblem, commonly referred to as a “Glock
         switch,”

in violation of Title 18, United States Code, Sections 922(o) and 924(a)(2), and Title

18, United States Code, Section 2.

                                    COUNT 2
                   POSSESSION OF AN UNREGISTERED MACHINEGUN

39.      Paragraphs 1 through 38 are incorporated by reference as though fully set

forth.


40.      On or about May 2, 2019, in the District of Kansas, the Defendant,

                                   JACOB GRAGG,

knowingly received and possessed one or more machineguns, described as:

         seven (7) modified slide plate covers compatible with Glock
         pistols, bearing the markings “Made in AUSTRIA” and a likeness
         of the Glock Inc., emblem, commonly referred to as a “Glock
         switch,”




                                            8
          Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 9 of 12




not registered to him in the National Firearms Registration and Transfer Record, in

violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871, and Title

18, United States Code, Section 2.

                                       COUNT 3
               POSSESSION OF AN EXPLOSIVE BY A PROHIBITED PERSON

41.      Paragraphs 1 through 40 are incorporated by reference as though fully set

forth.

42.      On or about May 2, 2019, in the District of Kansas, the defendant,

                                   JACOB GRAGG,

having previously been convicted of a crime punishable by a term of imprisonment

exceeding one year, namely:

         Possession of an Opiate, Opium, Narcotic Drug or Stimulant –
         Methamphetamine in Shawnee County, Kansas, District Court
         Case Number 12-cr-1373 on or about August 23, 2012

         Burglary and Aggravated Battery; Physical Contact with a
         Deadly Weapon in Morris County, Kansas, District Court Case
         Number 13CR07 on or about August 6, 2013.

possessed an explosive, namely:

one-half (0.5) pounds of a mixed binary explosive, commonly known as
Tannerite,

that had been shipped and transported in interstate and foreign commerce, and did

so knowingly, in violation of Title 18, United States Code, Section 842(i) and 844(a).




                                            9
         Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 10 of 12




                                  COUNT 4
      POSSESSION WITH THE INTENT TO DISTRIBUTE A CONTROLLED SUBSTANCE

43.      Paragraphs 1 through 42 are incorporated by reference as though fully set

forth.

44.      On or about May 2, 2019, in the District of Kansas, the defendant,

                                   JACOB GRAGG,

knowingly and intentionally possessed with the intent to distribute less than five (5)

kilograms of a mixture and substance containing a detectable amount of marijuana,

a Schedule I controlled substance in violation of Title 21, United States Code, Section

841(a)(1) with reference to Title 21, United States Code, Section 841(b)(1)(D), and

Title 18, United States Code, Section 2.

                               FORFEITURE ALLEGATION

45.      The allegations contained in Counts 1-3 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant

to Title 18, United States Code, Sections 844(c)(1), 924(d), and Title 28, United States

Code, Section 2461(c).

46.      Upon conviction of the offense alleged in Counts 1 or 2, the defendant,

                                   JACOB GRAGG,

shall forfeit to the United States of America any firearms or ammunition used in the

commission of the offenses in Counts 1 or 2. The property to be forfeited includes,

but is not limited to, property described as seven (7) modified slide plate covers

compatible with Glock pistols, bearing the markings “Made in AUSTRIA”

and a likeness of the Glock Inc., emblem, commonly referred to as a “Glock

                                            10
       Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 11 of 12




switch,” pursuant to Title 18 United States Code, Section 924(d) and Title 28, United

States Code, Section 2461(c).

47.   Upon conviction of the offense alleged in Count 3, the defendant,

                                 JACOB GRAGG,

shall forfeit to the United States of America any explosives used in the commission

of the offense alleged in Counts 3. The property to be forfeited includes, but is not

limited to, property described as one-half (0.5) pounds of a mixed binary

explosive, commonly known as Tannerite, pursuant to Title 18, United States

Code, Sections 844(c)(1), and Title 28, United States Code, Section 2461(c).

48.   If any of the property described above, as a result of any act or omission of the

defendant:

      a. cannot be located upon the exercise of due diligence;
      b. has been transferred or sold to, or deposited with, a third party;
      c. has been placed beyond the jurisdiction of the court;
      d. has been substantially diminished in value; or
      e. has been commingled with other property which cannot be divided without
      difficulty,
the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28,

United States Code, Section 2461(c).

                                               A TRUE BILL.



May 29, 2019                             s/Foreperson
DATE                                   FOREPERSON OF THE GRAND JURY


                                          11
       Case 5:19-cr-40044-DDC Document 11 Filed 05/29/19 Page 12 of 12




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               [It is requested that trial be held in Topeka, Kansas.]




                                         12
